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rN THE UNITED sTATEs DlsTRICT CouRT F“~'l
FOR THE wEsTERN DISTRICT or TENNESSEE

  

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ARB P.C`E.-L-r-" I,=i ' rt 10
LISAY ROUGH’ cfsri.»<i“ uia. or at
W.D. G¥~" `i'rl, fvlf;.v.PH¥S
Plaintiff,
‘“’- NO. 03-2630 B/P

UNUM LlFE lNSURANCE COMPANY
OF AMERICA,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO DENY RELIEF AND TO AFFIRM
UNUM’S DECISION TO DENY BENEFITS AND DENYTNG PLAINTIFF’S l\/IOTION TO
REVERSE DEFENDANT’S DENIAL OF DEATH BENEFITS

 

This case involves a claim under the Employees Retirement Income Security Act of 1974,
29 U.S.C. §§ 1001-1461 (“ERISA”), by Plaintiff, Lisa Yarbrough, for death benefits provided by an
employee benefit plan. Plaintift` is the widow of Robert N. Yarbrough, Jr. ("decedent” or
“deceased") who was employed by Ingram l\/licro, lnc. (“lngram”). The deceased enrolled through
his employer in a life insurance benefit plan which was administered by the Defendant, Unum Lii`e
Insurance Company ofAmerica (“Defendant” or “Unurn”). After l\/Ir. Yarbrough died, Plainti ff filed
a claim with the Defendant which paid only part of the policy benefits based on the deceased’s
failure to accurately list all of his medical conditions Yarbrough appealed the decision without
success. ln the instant action, she seeks review ofthe plan administrator’s decision to withhold a
portion of the benefits The Plaintiff and Defendant have filed motions to reverse and aftirm,
respectively, the decision ofUnum to deny relief AS responses have been tiled, the motions are now

ready for disposition

This document entered on the docket sheet `n cornp§iance
with Hule 58 and/or 79(a) FFlCP on §§ o?‘§'Q§ L/'/

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FACTS

 

The following facts are taken from the administrative record filed on January 23, 2003. E
Miller v. Metro. Life lns. Co., 925 F.Zd 979, 986 (6th Cir. 1991) (holding that when a court reviews
a denial ofERlSAbenefits, it may generally consider onlythe evidence available to the administrator
at the time of the final decision). As an employee of Ingrarn, the deceased was covered under group
policy number 530226 001 issued by Unum which named Plaintiff as the beneficiary
(Administrative Record at UACLOOOGZ-UACLOO]O?; hereinafter “R. at 62-107".) On .Ianuary 3,
2002, decedent applied for additional coverage and filled out an evidence of insurability form
(hereinafter “E off form”). (R. at 130, 259.) At the end of February, Defendant approved the
deceased’s E of l form requesting additional life insurance

On May 8, 2002, the decedent was seriously injured in a motorcycle accident occurring on
the premises of his employer. (R. at 257.) Less than a month later, Plaintiff"s husband died as a
result of head injuries suffered from the incident (R. at 257.) Thereafter, Plaintiff submitted her
claim to Unum for life insurance, supplemental life insurance, accidental death and dismembennent,
and supplemental accidental death and dismemberment benefits (R. at 192.) On July 25, 2002, an
agent of the Defendant informed Yarbrough by letter that her claim for life insurance benefits in the
amount of her husband’s annual earnings and for supplemental life insurance benefits in the amount
of twice her husband’s annual eamings were approved while the remaining coverage was still being
reviewed (R. at 126.) Several weeks later, Plaintiff was further advised that because the E off form
for the additional coverage was completed less than two years before she made her claim, Unum had
the right under the policy to verify the accuracy ofthe medical information provided at the time of

the application (R. at 129.) ln that same letter, Defendant requested that Yarbrough complete a

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medical authorization form regarding the deceased’s medical records, which she filled out and
retumed to Unum. (R. at 129, 171.) After the medical records were received, Unum’s agent sent
Plaintiff` s claim to its clinical consultant, who forwarded the claim to Unum’s l\/Iedical Und erwritin g
Department for “contestable review.” (R. at 260-61.) On November 8, 2002, the department sent
the clinical consultant an intemal memorandum advising that “[t]he clinical notes discfosed several
problematic issues - 7 notations regarding his weight that ranged from 290 lbs. to 300 lbs. [even
thouin the deceased indicated he weighed 260 on the E ofl]; l 0/23/01 note stating that a GGT result
was 221 [(indicating elevated liver enzymes); and that h]e also had several elevated blood pressure
readings.” (R. at 265 .) As a result, the Defendant explained to the deceased’s employer that it would
not be paying the supplemental life insurance benefits because the information it received “was not
completely accurate” and it would not have approved the application had the con'ect information
been disclosed by the deceased (R. at 266.) Unum further indicated that its decision was not related
to the decedent’s motorcycle accident (R. at 268.)

On November 22, 2002, Defendant sent Plaintiff a letter denying her claim for the
supplemental life insurance benefits because the application for insurance contained incomplete and
inaccurate information (R. at 270.) Unum explained that question one on the application asked
whether the applicant had “been diagnosed or received treatment” in the past seven years from a
medical professional for “any heart disorder, high blood pressure, stroke, cancer, tumor, diabetes,
alcoholismJ kidney or liver disease, . . . respiratory, mental, nervous condition or emotion disorder,
arthritis, . . . or any bone, joint or muscle disorder?” (R. at 271.) The deceased checked "no" in
response to the question (R. at 271.) Additionally, question five asked whether “[d]uring the past

five years, other than for conditions listed above, have you consulted or been treated by a member

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of the medical profession or been hospitalized?” (R. at 271 .) Again, the deceased answered in the
negative (R. at 271 .) Finally, in response to question four which asked the applicant “[d]o you take
prescription drugs or medications for any physical, mental, nervous condition or emotional disorder,”
the deceased indicated a past medical history of arthritis in his right ankle for which he took Voltran
on a daily basis. (R. at 130, 2'71.) Based on the discrepancies between the deceased’s medical
records and the answers provided in the E off form, Unum declared that it would not have approved
the deceased’s application had he provided complete and accurate information (R. at 27'1.)
Defendant informed Yarbrough that she could appeal the decision and that her appeal “should
include her view of the issues, as well as any documentation [she wished] Unum . . . to consider.”
(R. at 270-71.)

On December 2, 2002, Plaintiff appealed Defendant’s decision (R. at 276.) Unum sent
Yarbrough a letter on January 25, 2003, denying her appeal, stating as additional reasons that

[t]he medical records received from Dr. Crai g noted Mr. Yarbrough was seen on l\/lay

18, 2000 for atypical Pneumonia and Gastroesophageal Reflux Disease (GERD) and

was prescribed Prevacid. Dr. Crai g further noted, “l explained to the patient that

losing weight will help his reflux.” The May ]8, 2000 record also noted a diagnosis

of obesity and he was prescribed l\/Ieridia 10 mg to see ifthis would help him lose

weight and he recommended the sugar busters diet. The January 23, 2001 record

indicated that Mr. Yarbrough requested a refill of his Prevacid for his heartb urn The

September 20, 2001 record noted Mr. Yarbrough was seen at the clinic complaining

of shortness of breath and a cough. Dr. Craig noted, “He does have a history of

asthma. He has been out of his [Azmacort] and Vanillin for about a month.”

lncluded with his medical records, was a chart specifying Mr. Yarbrough’s weight,

pulse, blood pressure, and temperature for each visit dated October 19, 1999 through

March 14, 2002.
(R. at 182, 284.) Unum claimed the deceased failed to accurately complete the E ofl form by not

listing the conditions contained in the medical records as well as the prescriptions and treatments

prescribed for those conditions (R. at 283 .) Thereafter, Plaintiff filed this action seeking to overturn

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the Defendant’s denial
ANALYSIS

The parties disagree on what the appropriate standard ofreview should be, about several
terms used in the policy and E of`l form, whether Unum could rely on additional reasons in denying
Plaintiff’ s claim on appeal, whether Unum considered “new” information submitted by Yarbrough
in her appeal letter, and whether the Defendant appropriately denied her claim for benefits The
Court will consider these issues in turn

l. Standard of Review.

A denial of benefits under 29 U.S.C. § 1132(a)(1)(B) is to be reviewed under a de novo
standard, unless the benefit plan gives the administrator or fiduciary discretionary authority to
determine eligibility for benefits or to construe the terms of the plan Williams v. lnt’l Paper Co.,
227 F`3d 706, 710-1 l (Gth Cir. 2000) (citations omitted). Where an ERISA plan expressly affords
discretion to a plan trustee to make benefit determinations, a court reviewing the plan administrator’s
actions applies an arbitrary and capricious standard ofreview. lgi_l As the Plaintiff has conceded, the
Court must review Unum’s denial of benefits under the arbitrary and capricious standard because
the policy in this action grants Unum that discretionary authority (R. at 95; Mem. Supp. Pl.’s Mot.
Reverse Def.’s Denial Death Benefits at 8 (“Pl.’s l\/Iem.”).) Under this standard, the Plaintiff bears
the burden of proof to establish that Defendant’s determination was arbitrary and capriciousl
Dowden v. Blue Cross & Blue Shield ofTexas, 126 F.3d 641 , 644 (5th Cir. 1997); Bowen v. Central
Statesq Southeast and Southwest Areas Health and Welfare Fund, No. 91-3981, 1992 WL 92832, at
*3 (6th Cir. May 6, 1992) (hoiding that the decision must be sustained unless plaintiffcan prove that

the actions were arbitrary or capricious); Brandon v. Metro. Life lns. Co., 678 F. Supp. 650, 655

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(E.D. Mich. 1988) (deciding that plaintiff failed to establish that the actions were arbitrary or
capricious).

The arbitrary or capricious standard is a “highly deferential standard of review.” Yeager v.
Reliance Std. Life fns Co., 88 F.3d 376, 380 (6th Cir. 1996). lt is the least demanding form of
judicial review of administrative action Williams, 227 F.3d at 712. When reviewing a decision
under this standard, a court must decide whether the plan administrator’s determination was rational
in light of the plan’s provisions § Stated differently, when it is possible lo offer a reasoned
explanation based on the evidence for a particular outcome, that outcome is not arbitrary or
capricious ld_=; § also Raskin v. UNUM Provident Corp., No. 03-2270, 2005 WL 271939, at *2
(6th Cir. Feb. 3, 2005). The fact that a contrary conclusion Mf have been reached does not afford
a basis to override the committee’s decision Whitehead v. Federal Express Corp.. 878 F. Supp.
1066, 1070 (W.D. Tenn. 1994).

l-lowever, Plaintiff argues that the standard of review should be altered by Unum’s conflict
of interest since it was both the plan administrator deciding eligibility and the insurance company
ultimately responsible for paying the claim. (Pl.’s Mem. at 9.) Under the terms of the policy,
Ingram, the deceased’s employer, was the plan administrator and the named fiduciary which could
delegate its duties to the Defendant as the plan insurer and underwriter. After lngram exercised its
power to transfer its duties to Unum, the Defendant also became the plan administrator. (R. at 74,
106', Pl.`s Mem. at 9.)

Conflicts of interest generally arise when an insurance company which administers an ERISA
plan pays benefit claims out ofits own assets w _M_iU;e_r, 925 F.2d at 984-85 (finding a conflict of

interest in an insured’s ERISA benefit plan); Brown v. Blue Cross & Blue Shield ofAla., 898 F`.2d

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1556, 1559-68(1 lth Cir. 1991) (discussing conflicts ofinterest in the ERISA context for insured and
uninsured plans). Consequently, the insurance company’s “fiduciary role lies in perpetual conflict

with its profit-making role as a business and the conflict ofinterest is substantial.” Miller, 925 F.2d

 

at 984. A conflict of interest can also arise if the plan administrator is controlled by the entity
funding the plan University Hosp. ofCleveland v. Emerson Elec. Co., 202 F.3d 839, 846 (6th Cir.
2000). If the benefit plan administrator has a conflict of interest in deciding claims, then the court
must take that conflict into account when reviewing the administrator’s decisions M, 925 F.2d
at 984 (considering the conflict of interest inherent in the defendant’s benefit plan).

The Defendant does not argue that a potential conflict of interest does not exist but instead
asserts that the Plaintiff has not presented any evidence showing that a conflict actually influenced
its decision to deny Yarbrough’s benefits, as required by the case law. ln Peruzzi v. Summa Med.
M, 137 F.3d 431, 433 (6th Cir. 1998), the Sixth Circuit stated that where a “review of the record
reveals no significant evidence that [the defendant] based its determination on the costs associated
with [the claimant’s] treatment or otherwise acted in bad faith, we cannot conclude that [the
defendant] was motivated by self-interest.” “l\/Iere allegations of the existence of a structural conflict
of interest are not enough; there must be some evidence that the alleged conflict of interest affected
the plan administrator’s decision to deny benefits.” Gough v. l\/letro_ Life lns. Co., No. 3103-0158,

2003 WL 23411993, at *9 (M.D. Tenn. Nov. 21, 2003) (citing Peruzzi, 137 F.3d at 433). fn this

 

case, Yarbrough has merely made allegations regarding the Defendant’s potential conflict ofi nterest
but has failed to establish that any conflict affected Unum’s determination regarding the deceased
Thus, the Court is unable to conclude that the Defendant’s decision to deny Plaintif"f’s claim for the

supplemental life insurance was actually motivated by self-interest w Peruzzi, 137 F.3d at 433.

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Even considering Unum’s potential conflict of interest as a factor in the arbitrary and capricious
standard, the Court finds that it is not decisive in the outcome of this case

ll. The Terms ofthe Policv and the E off

The parties disagree over the interpretation ofseveral provisions ofthe policy including when
Unum’s two year period to review the medical information submitted by the deceased began to run,
what the parties are required to show to be entitled to relief under the terms of the policy, and
whether the answers to the E of l form must be accurate in fact or to the best of the decedent’s
knowledge

/f. The Two-Year Provi`si`on.

Plaintiff argues Unum’s statement in its denial letter indicating th at "any increase in coverage
is subject to a new 2-year period beginning with the date of the increase” during which the Defendant
could review the accuracy of the information provided in the E off form was incorrect and not found
anywhere in the policy. (Pl.’s l\/fem. at 15.) Accordingly, Plaintiff maintains that because the
decedent’s initial life insurance policy became effective on January 1, 1999, Unum could not review
the medical information submitted in February 2002. However, Plaintiff concedes that under the
policy, Unum could take action within the first two years that coverage was in force (R. at 88; Pl. ’s
Mem. at 15 n.9.)

Defendant asserts that the two-year review period for reviewing the information provided by
the deceased in the E of l form did not go into effect until the insurer approved the E off form on
February 27, 2002. (R. at 93-94; Def.’s Mem. Opp’n Pl.’s Mot. Reverse Def.’s Denial Death
Benefits Supp. Its Mot. Deny ReliefAffinn Unum’s Decision Deny Benefits at 20 (“Def. ’ s Mem.”).)

Unum points to a provision in the policy which states that “[c]overage will begin at 12:01 a.m. on

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the date Unum approves your evidence ofinsurability form.” (R. at 93; Def.’s Mem. at 20.) Thus,
Defendant asserts that it made its determination to deny benefits on November 22, 2002, which was
within two-years from the date that the deceased’s application for the additional coverage was
approved

As stated above, because Unum had the discretionary authority to interpret the provisions of
the policy, its interpretation must be viewed under an arbitrary and capricious standard E
Williams, 227 F.3d at 712. When reviewing a decision under this standard, a court must decide
whether the plan administrator’s determination was rational in ii ght of the plan’s provisions mlde The
Court finds that Unum ’s interpretation met that standard The policy provided that the insurer could
review the accuracy of information provided in the E of l form during the initial two years of
effective coverage which began on the date Unum approved the E of I form. (§e§ R. at 88, l 1 1-12.)
Therefore, it was reasonable for Unum to conclude that coverage on the additional supplemental life
insurance did not begin until February 27, 2002. Defendant’s request for additional medical
information was well within the two-year period from the date the E off form was completed

B. Whar the Parties are Requi'rea’ to Prove.

Plaintiff argues that the Defendant could only deny benefits if the deceased made the
statements in question in a fraudulent manner. Conversely, Defendant submits that pursuant to the
policy, it can deny Yarbrough’s claim if information provided in the E of I form was inaccurate
regardless of whether the deceased had any intent to defraud when completing the application
Plaintiff also submits that the Defendant cannot deny coverage as long as the applicant answered the
questions on the E off form to the best of his knowledge and belief even if the answer turned out to

be incorrect in fact. On the contrary, Defendant submits that the policy provided it with the authority

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to deny coverage for answers which were not correct The Court will address these issues in turn
]. Whether the Decedem Must Have Had an latent to Defraud.

Plaintiff maintains that since ERISA does not address the effect of a misrepresentation or
omission in an insurance application the Court must look to federal common law and state law for
guidance _S__e£J Davies v. Centennial Life lns. Co., 128 F.3d 934, 944 (6th Cir. 1997) (holding that
“state law may guide us in determining the proper federal common law standards” to apply in
deciding ERISA claims.) (citing Dingledine v. Cent. Reserve Life Ins. Co., 934 F. Supp. 892, 898
(S.D. Ohio 1996)); Tingle v. Pacific Mutual lns. Co., 837 F. Supp. 191 (W.D. La. 1993). Plaintif`f`
points to Massachusetts Casualtv Ins. Co. v. Reynolds, 113 F.3d 1450, 1455-56 (6th Cir. 1997), in
which the Sixth Circuit determined that, under Tennessee law, an insurance company can avoid a
policy based on the fraudulent misstatement defense when:

l. [The insured m]ade a statement,

2. Such statement was false,

3. Such statement was material,

4. That the plaintiff knew the representation was false at the time it was made, or that it was

made recklessly without any knowledge of its truth, and

5. The false representation was made with the intention of deceiving the defendant
§ (citations and internal quotations omitted).

Relying on the policy language alone, Unum argues that it could “reduce or deny any claim”
if “any of the statements [decedent made were] not complete and/or not true at the time they [were]
made.” (R. at 88', Def.’s Mem. at 17.) Therefore, as it denied coverage based on the language
contained in the policy, Defendant submits that Plaintiff`s reliance on the doctrine of fraudulent

misstatement is mispiaced. (Def.’s Mem. at 17); §§ Lake v. Metro. Life lns. Co., 73 F.3d 1372,

1379 (6th Cir. 1996) (stating that “courts must give effect to the unambiguous terms of an ERlSA

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plan”) (citation omitted).

The Court concludes that Tennessee’s fraudulent misstatement defense is inapplicable to this
case under the terms of the policy. As previously noted, a plaintiff must prove that the insurer’s
denial was arbitrary and capricious &e_e Dowden, 126 F.3d at 644. The policy clearly provided
Unum with the authority to deny coverage if answers provided were not true or complete (E R.
at 88.) lt does not require that the answers be made with an intent to deceive or defraud
Additionally, Reynolds is distinguishable because in that case the policy specifically referred to
“fraudulent misstatements” made by the insured as the basis for voiding the policy or denying a
claim. § Reynolds, 113 F.3d at 1454. Here, the insurance policy language did not require that the
misstatements be fraudulently made Accordingly, the Court must uphold the unambiguous terms
ofthe policy. ELa_ke, 73 F.3d at 1379.

2. Whether the Deceasea’ 'S Answers Need to Hrive Been Onfy to the Best oin`S Kirowfedge.

The next issue is whether Unum could refuse a claim based on answers in the E ofl form that
were incorrect in fact even if they were made to the best of the applicant’s knowledge and belief.
Yarbrough maintains that the E of l form only required the deceased to acknowledge that “[t]he
statements l have made on this application are true to the best of my knowledge and belief.” (R. at
130; Pl.’s Reply Def`.’s Resp. Pl.’s l\/fot. Reverse Def.’s Denial Death Benefits at 3 (“Pl.’s Reply”).)
ln support of her argument, Plaintiff cites to Hauser v. Life General Securitv lnsurance Companv,
56 F.3d 1330, 1334-35 (1 lth Cir. 1995), in which the Eleventh Circuit Court oprpeals concluded
that “[w]here the language an insurance company chooses in its insurance application shifts the focus
from a determination of truth or falsity of an applicant’s statements to an inquiry into whether the

applicant believed the statements to be trueJ the applicant’s answers must be assessed in light of his

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actual knowledge or belief.” lng (citing William Penn Life lns. Co. ofl\lew York v. Sands, 912 F.2d
1359, 1363 (11th Cir. 1990) (citing Skinner v. Aetna Life & Casualty, 804 F.2d148, 150 (D.C. Cir.
1986))). The court opined that “[w]here an insurer only requests the disclosure of information to
the best of the insured’s ‘knowledge and belief,’ and where the applicant so complies, we will
decline to protect the insurer ‘from a risk it assumed by virtue of the contractual language it
drafted.”’ I_d. (citing Sa_nds, 912 F.2d at 1364).

The Court is persuaded that the Defendant here must abide by the terms of the application
and suffer the risk it created by including similar language in the E of I form. Because Unum
included “knowledge and belief" in its E ofl form, the Court finds that the responses must not only
have been incorrect in fact but also made contrary to the deceased’s knowledge and belief. (R. at
130.) Although Defendant argues that this language should not alter the tenns of the policy, the
Court notes that it would be inequitable to request an applicant to give information to the best of his
knowledge and belief and then deny his claim if his belief tunis out to be erroneous w M,
56 F.3d at 1334 (declining to protect the insurer from the risk it assumed by virtue ofthe language
it drafted).

ln sum, in order for Plaintiff to prevail, she must prove that the Defendant acted arbitrarily
and capriciously when it denied Yarbrough’s claim. To establish that Unum acted in such a manner,
Yarbrough must only show that the answers which were the basis of the denial, were made to the
best of the decedent’s knowledge and belief, whether or not they were in fact correct

III. Whether Unum Shou]d be Permitted to Base its Apnellate Decision on Additional
Information and Whether Unum Reviewed “New lnfonnation” Submitted by the Plaintiff

Yarbrough contends that the Defendant acted arbitrarily when it based its decision on appeal

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on reasons not included in the initial denial letter and by failing to take into consideration her view
ofthe issues The Court will consider each ofthese assertions

A. Other information Consr`dered en Appeal.

Plaintiff maintains that Defendant’s use of additional reasons not contained in its initial
denial allows for the circumvention ofthe appeals process and limits Plaintiff`s ability to produce
evidence necessary to refute the allegations contained in the final denial letter. (Pl.’s Mem_ at 14.)
However, Yarbrough has cited to no legal authority for the proposition that relying on additional
evidence on appeal is either arbitrary or capricious or in violation of her right to a full and fair
review. Defendant insists that it did not provide new reasons but simply additional support for its
initial conclusion-that the decedent failed to disclose all of his medical conditions and prescriptions
on the E ofl form. (Def.’s Mem. at 19.)

ERISA provides that every employee benefit plan shall “provide adequate notice in writing
to any participant or beneficiary whose claim for benefits under the plan has been denied, setting
forth the specific reasons for such denial” and shall “afford a reasonable opportunity to any
participant whose claim for benefits has been denied for a full and fair review by the appropriate
named fiduciary.” 29 U.S.C. § 1133(1), (2). One ofthe regulations promulgated under§ 1133 states
that

the claims procedures of a plan will not be deemed to provide a claimant with a

reasonable opportunity for a full and fair review of a claim and adverse benefit

determination unless the claims procedures . . . [p]rovide claimants the opportunity

to submit written comments, documents records, and other information relating to

the claim for benefits . . v [and] [p]rovide for a review that takes into account all

comments, documents records and other information submitted by the claimant

relating to the claim, without regard to whether such information was submitted or
considered in the initial benefit determination

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29 C.F.R. § 2560.503-1(h). Only substantial compliance with § l 133 and its regulations is required
§§ Halpin v. W.W. Grainger` Inc.. 962 F.2d 685, 690 (7th Cir. 1992).

fn Kraut v. Wisconsin Laborers Health Fund, 992 F.2d 113, 117-18 (7th Cir. 1993), the
plaintiffs argued that they had been denied their right to a full and fair review under § 1 133 when
the plan administrator articulated two reasons for the denial in the initial denial letter but added a
third reason in the final denial letter after the appeals process was completed The Seventh Circuit
held that “nothing in ERlSA § 503, 29 U.S.C. § 1133 explicitly precludes the Trustees from citing
an exclusion not mentioned in an original letter of denial. Rather, that section requires ‘specific
reasons for denial of a claim’ and ‘full and fair review’ by a named fiduciary.” § (citing 29 C.F.R.
§ 25 60.5 03-1(D(1) and (h)(2)). ln finding no § 1133 violation, the court concluded that the plaintiffs
“[had] been provided with specific reasons for the denial of their claim and [had] not been denied
full and fair review of their case” § Likewise, in Tonnev v. General American Life lnsurance
Conrpany, 973 F. Supp. 805, 814 (N.D. lll. 1997), the court allowed the plan administrator on appeal
to rely on additional evidence to support the denial of the plaintiffs claim. The plan administrator’s
first denial letter in TOMY failed to comply with § 1133 by not providing specific reasons for its
decision § However, “[a]s part of the reviewing process, an agent of {the plan administrator]
gathered additional medical records” and forwarded the information to the defendant which upheld
the decision denying coverage explaining in detail why the plaintiffs claim was not covered §
The court determined that “even though [the plan administrator] violated the procedural
requirements of § 1 133, it substantially complied with the regulations because it ultimately provided

[the plaintiff] with a full and fair review of his claim.” id

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Plaintiff’s argument that Unum should not be allowed to rely on additional evidence to
support its conclusion is without support This same argument was rejected in Kr_aut which found
that nothing in § 1 133 precludes a plan administrator from relying on additional reasons not cited
in the original letter of denial. E K§t_r_t, 992 F.2d at 118. Moreover, since Unum must only
substantially comply with the statute, Plaintiff’ s argument that the Defendant failed to provide it a
full and fair opportunity for review is unpersuasive §_e§ H_alB, 962 F.2d at 690. Thus, this Court
concludes that Unum’s reliance on additional reasons in its final letter to Plaintiff was not in
violation of§ 1133. § TMn_ey, 973 F. Supp. at 814.

B. Unum ’S Consr`demtr'c)n an Appeal of Plaintiff ’s “New ” lnformarion.

Yarbrough also maintains that the Defendant failed to comply with the policy which required
it to “make a full and fair review of the claim and all new information subrnitted” when Unum sent
Plaintiff’s letter containing her view ofthe issues to the appeals department instead ofreviewing it
as new information and forwarding the letter to the initial review department (Pl. ’s Memi at 12; R.
at 71 .) fn support of her argument, Plaintiff points to the record which contained a form completed
by an employee ofUnum indicating that no new information was provided in the Plaintiff"s appeal
letter. (R. at 275.) fn the letter, as Plaintiffnotes, only her view ofthe issues was included (R. at
276; Pl.’s Mem. at 13 n.6.)

ln response, Defendant maintains that Plaintiff’s subjective opinions were not new
information warranting additional medical and underwriting file review. (Def.’s Mem. at 19.)
Additionally, Unum submits that Yarbrough’s claims that a full file review did not take place and
that her letter was not addressed were belied by the fact that it offered additional reasons for its final

denial, (Def.’s Mem. at 19 n.14.)

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The Court concludes that Plaintiff”s assertion that the Defendant failed to review her letter
is without merit Yarbrough’s letter included no new infomiation that was not already a part of the
record and reflected only her personal view of the evidence (R. at 276.) fn its discretionary
authority, the Defendant may interpret the terms of the policy and construe the terms ‘“new
information” as including only new factual information W Williams, 227 F.3d at 712.
Accordingly, it was not arbitrary or capricious for Unum to determine that no additional information
was contained in her letter.

lV. Unum’s Denial ofPlaintiff's Claim for Supplemental Li fe lnsurance

Defendant denied Yarbrough’s claim for additional life insurance coverage applied for by
the deceased on January 3, 2002. According to Unum, the decedent did not accurately complete the
E off in listing all of his medical conditions as well as the prescriptions and treatments administered
to treat those conditions As stated previously, the Defendant initially denied Plaintiff s claim after
an investigation of the deceased’s medical records revealed that he failed to disclose his accurate
weight, high blood pressure problems, and an elevated liver enzymes test which lead to his treatment
with a “step 1" diet. (Def.’s Mem. at 9-10.) After the Plaintiff appealed the decision, Unum, upon
further investigation discovered that the medical records also revealed that on May 18, 2000 the
decedent’s doctor diagnosed him as “obese,” with atypical pneumonia, and with gastroesoplrageal
reflux disease, all of which required prescription medication (R. at 178.) Decedent’ s medical record
of September 20, 2001 also reflected that the deceased had “a history of asthma” and that he had
been out ofprescriptions of“Azmacort and Ventilin for about a month.” (R. at 182; Def.’s Mem.
at 9-10.)

Based on these new discoveries, Unum concluded that the decedent had failed to accurately

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answer four of the questions on the E off fonn, as set forth in detail earlier in this order. As a result
of these incomplete responses, Unum denied Plaintiff"s claim for additional life insurance coverage

fn response Yarbrough disputes that the decedent answered incorrectly or incompletely.
With respect to the weight discrepancy, she argues that his weight fluctuated in the various office
visits from October 19, 1999 through May 14, 2002 where the reports were from 290 to 300 pounds
Further, she insists that there is no evidence in the record which reflects that the decedent’s weight
was not 260 pounds on lanuary 2, 2002 when he completed the E off form. (Pl.’s Mem. at 18; Pl.’s
Reply at 5.) Plaintiff submits that the E of l questions did not ask what the employee’s weight was
on the dates he visited the doctor. (Pl.’s Mem. at 11.) Nor did the E of l form seek information on
liver enzymes or blood pressure readings (Pl.’s l\/fem. at 1 l .) As for the decedent’s blood pressure
Plaintiff contends that he did not fail to answer question one which asked if he had ever been
“diagnosed or received treatment” for high blood pressure because an elevated reading does not
alone lead to the conclusion that he was diagnosed or treated for that condition (Pl.’s Mem. at 20.)
Likewise, as to the deceased’s elevated liver enzymes, Yarbrough maintains that this does not mean
that he had been “diagnosed or received treatment . . . for . . . liver disease.” She also stresses that
the medical records do not indicate that the decedent had liver disease (Pl.’s Mem. at 20.)

As to the notations of deceased’s obesity, treatment with the “sugar busters diet,” and
medication Plaintiff claims that “[t]here is no question on the form that asks about obesity.” (Pl.’s
Mem. at 19.) With respect to the deceased’s history of asthma and atypical pneumonia, Yarbrough
contends that such findings do not mean that he had been diagnosed with a respiratory condition
(Pl.’s Mem. at 21 .) She concedes that the medical records reflect a history of asthma for which the

decedent received treatment on September 20, 2001. (Pl.’s Reply at 7.) Nonetheless, Plaintiff

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submits that the question was poorly worded and that her husband, who only had a high school
education was not trained in medical terminology. (Pl.’s Mem. at 21; Pl.’s Reply at 7.) Finally,
Plaintiff contends that there was no evidence in the record that the deceased was taking reflux
medication on January 3, 2002. (Pl.’s Mem. at 22.) With these explanations she submits that
Unum’s denial, based on an inaccurate completion of the E off formJ was arbitrary and capricious

The Court finds that the insured’s responses on the E off form were not made to the best of
his knowledge and belief. As for question one regarding a respiratory condition within the past
seven years, the deceased failed to report a history of asthma for which he received treatment only
four months before he completed the form. (§:_e_ R. at 130, 182.) Similarly, as to question five
which asked whether he had been consulted or treated during the past five years for other conditions
not listed in response to question one, he failed to list atypical pneumonia and gastroesophageal
reflux disease on May 18, 2000.l (R. at 178-79.)

The Court further determines that in response to question five the decedent should have
disclosed that he received recommended dietary treatment for his elevated liver enzymes. (R. at
130.) Although the deceased was only required to provide the information to the best of his
knowledge and belief, he should have known that the results of this test would qualify as a
“condition” for which he was consulted or treated by a doctor within the past five years (E R. at
130.) Although the deceased may not have had medical training, he had completed high school and
obviously was able to read and write (R. at 302.) Likewise, the deceased should have listed that

he was treated for obesity when he was put on a “sugar busters diet.” (R. at 178.) Accordingly, the

 

' The Court would note that the deceased, in responding to these questions would not
have been required to list former medications but only those that were currently being taken

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Court finds that Defendant’s conclusions regarding decedent’s answers to questions one and five
were not arbitrary or capricious in light of the information discovered in the deceased’s medical
records

Plaintiff argues that even if the decedent made misrepresentations they were not material in
the Defendant’s decision to issue the coverage In I§vi§_s_, the Sixth Circuit stated that a
misstatement is material if it “materially affects the insurer’s risk or the hazard assumed by the
insurer.” DLies, 128 F.3d at 943. Unum submits that had the decedent disclosed the prior medical
diagnoses of asthma, gastroesophageal reflux disease liver enzymes, and obesity, it would not have
approved his application for additional insurance coverage (W Def.’s Mem. at 10; R. at 265 .) The
Court finds that the omissions by the deceased were material because such medical conditions would
clearly affect the risk assumed by an insurer in issuing a life insurance policy for someone who is
in a different state of health than what was portrayed in the application for coverage Y M
v. Optimum Choice fns. Co., 37 F. Supp. 2d 340, 346 (D. Del. 1999) (concluding that plaintiffs
failure to disclose part of his medical history on a risk assessment form was material as a matter ol`
law).

The Court finds that Unum’s decision to deny Plaintiff s claim for the proceeds under the
deceased’ s supplemental li fe insurance coverage was not arbitrary and capricious Even considering
the conflict of interest as a factor in Unum’s decision it was still rational. “We simply ask whether
it is possible for [the plan administrator] to offer a reasoned explanation for its denial.” R§kin No.
03-2270, 2005 WL 271939, at *4. Moreover, when considering that the policy gave the Defendant
discretionary authority to determine whether Plaintiff"s claim for benefits was within the coverage
ofthe policy, the Court is not persuaded that the weight ofthe evidence is contrary to Defendant’s
determination

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Plaintiff makes much of the fact that the Defendant only relied on the deceased’s medical
records without consulting the deceased’s physician personally (Pl.’s Mem. at 22.) However,
nothing in the policy requires Unum to consult the decedent’s physician before denying the
Plaintiff"s claim. _S_e__e Jackson v. Metro. Life, No. 01-5028, 2001 WL 1450811, at *3 (6th Cir. Oct.
29, 2001) (stating that the plan administrator need not conduct an independent medical examination
of the plaintiff regarding her condition); §§_e also Gooden v. Provident Life & Accident lns. Co., 250
F.3d 329, 335 n.9 (5th Cir. 2001) (stating that the plan did not require the claimants to be examined
prior to denial) (citing Meditrust Fin. Servs. Corp. v. Sterling Chems., lnc., 168 F.3d 211, 215 (5th
Cir. 1999)). Accordingly, Defendant did not act arbitrarily or capriciously in denying the Plaintiff’ s
claim.

MC_L_USIM

For the reasons articulated herein Defendant’s motion to deny relief and to affirm Unum’s
decision to deny benefits is GRANTED. Thus, Plaintiff’ s motion to reverse Defendant’s denial of
death benefits is DENIED.

rr is so oRDERED this 2_1 day OrAprir, 2005

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;:. DSNIEL BREEN
ED STATES DISTRICT JUDGE

 

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D'R'rric COURT - wEerER DI"CRIT oF TENNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CV-02630 was distributed by fax, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

